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                                 #:119599
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 2 of 111 Page ID
                                 #:119600
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 3 of 111 Page ID
                                 #:119601
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 4 of 111 Page ID
                                 #:119602
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 5 of 111 Page ID
                                 #:119603
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 6 of 111 Page ID
                                 #:119604
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 7 of 111 Page ID
                                 #:119605
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 8 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 9 of 111 Page ID
                                 #:119607
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 10 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 11 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 12 of 111 Page ID
                                  #:119610
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 13 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 14 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 15 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 16 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 17 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 18 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 19 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 20 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 21 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 22 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 23 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 24 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 25 of 111 Page ID
                                  #:119623
Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 26 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 27 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 28 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 29 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 30 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 31 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 32 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 33 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 34 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 35 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 36 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 37 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 38 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 39 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 40 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 41 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 42 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 43 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 44 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 45 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 46 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 47 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 48 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 49 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 50 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 51 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 52 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 53 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 54 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 55 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 56 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 57 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 58 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 59 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 60 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 61 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 62 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 63 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 64 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 65 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 66 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 67 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 68 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 69 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 70 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 71 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 72 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 73 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 74 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 75 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 76 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 77 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 78 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 79 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 80 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 81 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 82 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 83 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 84 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 85 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 86 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 87 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 88 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 89 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 90 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 91 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 92 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 93 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 94 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 95 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 96 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 97 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 98 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 99 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 100 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 101 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 102 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 103 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 104 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 105 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 106 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 107 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 108 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 109 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 110 of 111 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-8 Filed 10/20/08 Page 111 of 111 Page ID
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